      Case 2:96-cr-00539-HB Document 1205 Filed 08/17/16 Page 1 of 1



                  IN THE UNITED STATES DISTRICT COURT
               FOR THE EASTERN DISTRICT OF PENNSYLVANIA


UNITED STATES OF AMERICA            :          CRIMINAL ACTION
                                    :
          v.                        :
                                    :
DARRYL E. COLEMAN                   :          NO. 96-539-1


                                  ORDER

          AND NOW, this 18th day of August, 2016, for the

reasons set forth in the foregoing memorandum, it is hereby

ORDERED that the motion of defendant Darryl E. Coleman “for a

sentence reduction pursuant to 18 U.S.C. Section 3582, USSG

Amendment 782, and Amendment 750” (Doc. # 1198) is DENIED.

                                          BY THE COURT:



                                          /s/ Harvey Bartle III
                                                                       J.
